Case 1:06-cv-00709-EWN-PAC Document 25 Filed 09/19/06 USDC Colorado Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF THE STATE OF COLORADO
                           Judge Edward W. Nottingham

     Civil Action No. 06-cv-00709-EWN-PAC

     MANUAL SANTISTEVAN,

           Plaintiff,

     vs.

     WILLIAM SALLEE and
     FRED WEGENER, SHERIFF OF PARK COUNTY, COLORADO

           Defendants.


                        ORDER FOR DISMISSAL WITH PREJUDICE

           THIS MATTER comes before the Court upon the parties’stipulated motion

     for dismissal with prejudice. The Court having reviewed the same, and being

     duly advised in the premises;

           DOTH ORDER that said motion be and hereby is GRANTED. All claims

     that were asserted or could have been asserted in this action are hereby

     DISMISSED WITH PREJUDICE.   Each party shall pay his own attorney fees and costs.

           DATED this 19th day of September, 2006.

                                             BY THE COURT


                                             s/ Edward W. Nottingham
                                             Edward W. Nottingham
                                             United States District Judge




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